            Case 1:20-cv-07311-LAK Document 261 Filed 01/13/24 Page 1 of 4
                                                                                            Michael T. Madaio, Esq.
                                                                                                           Partner
                                                                                          mmadaio@habbalaw.com
                                                                                    Admitted to practice in NJ, NY & PA




                                                                                               January 13, 2024
Via E-Mail and First Class Mail
The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan
500 Pearl Street
New York, New York 10007

          Re:      E. Jean Carroll v. Donald J. Trump
                   20 Civ. 07311 (LAK) (JLC)

Dear Judge Kaplan:

       We write in response to the letter submitted by the plaintiff, E. Jean Carroll (“Plaintiff”),
on January 11, 2024 (the “Letter”).

        In the Letter, Plaintiff asks this Court to preclude a defense witness and several defense
exhibits even though the deadline for in limine motions has long-since expired 1 and trial is set to
commence in mere days. She also blatantly mischaracterizes the substance of the meet-and-confer
discussions between counsel and grossly misstates President Trump’s position with respect to the
scope of admissible evidence. Finally, she sets forth arguments that are entirely bereft of merit and
misconstrue the nature of this Court’s January 9, 2024 Order. See ECF 252. Therefore, Plaintiff’s
application must be denied.

I.        Testimony of Carol Martin

        Plaintiff contends that Carol Martin should be precluded as a trial witness because,
according to Plaintiff, she has “no relevant testimony to offer.” Letter at 1. But Plaintiff already
sought this relief and her application was expressly denied by the Court a mere four days ago. See
ECF 233 at 4 (seeking to preclude Ms. Martin as a trial witness because “she has nothing to offer
on the issues remaining at trial.”); ECF 52 at 16 (“Accordingly, this branch of Ms. Carroll’s motion
is denied.”). Plaintiff’s current application is therefore frivolous and untimely, and seemingly
nothing more than an underhanded tactic to burden President Trump’s counsel with unnecessary
motion practice in the days leading up to trial. For this reason alone, Plaintiff’s motion should be
denied.

         Moreover, Plaintiff’s position lacks merit since Ms. Martin has relevant testimony to offer
at trial. Plaintiff is seeking damages for the alleged emotional harm she suffered as a result of
President Trump’s June 21 and June 22 statements. Ms. Martin, who describes herself as a “close”
friend of Plaintiff, see Exhibit A, Carroll II trial tr. 1026:8-14, is certainly someone who would

1
    The deadline for the parties to file in limine motions expired on December 8, 2022 See ECF 77.


       143 0 U. S . H i gh wa y 20 6, S ui te 2 40 , B ed mi n s ter , N J 07 92 1 ▪ T el . 9 0 8.8 69 .1 18 8
          Case 1:20-cv-07311-LAK Document 261 Filed 01/13/24 Page 2 of 4




possess relevant knowledge as to whether Plaintiff suffered mental anguish as a result of the June
21 and June 22 statements. For instance, Ms. Martin previously expressed in a December 1, 2021
text message that she believed Plaintiff was “loving the adulation” she had received since June
2019, going so far as to say: “[Plaintiff is] kinda like Santa at the xmas parade. She likes this
crown.” See Exhibit B. 2 While Plaintiff argues that Ms. Martin has only had “sporadic and largely
virtual interactions” with Plaintiff in recent years, Letter at 2, Ms. Martin testified that the two
have a “close friendship” as of today. Exhibit A, Carroll II trial tr. 1026:8-14. This is substantiated
by the extension communications (text, e-mail, etc.) that were disclosed by both Plaintiff and Ms.
Martin during discovery and which demonstrate that the two remain in frequent communication to
this day. See, e.g., United States v. Rigas, 490 F.3d 208, 224 (2d Cir. 2007) (“If lay testimony
results from a reasoning familiar in every day life, it [is] permissible lay opinion testimony under
Rule 701.”). Further, Ms. Martin personally took part in Plaintiff’s efforts to publicize her story
and garner media attention in June 2019. See Exhibit C, Martin Dep. tr. 62:21-63;10 (discussing
Plaintiff and Ms. Martin appearing on a New York Times podcast together in June 2019). Based on
the foregoing, there is no question that Ms. Martin possesses “first-hand knowledge” that will
assist the jury in determining whether, and to what extent, Plaintiff suffered mental anguish as a
result of the increased attention she received following the relevant events of June 2019. United
States v. Rea, 958 F.2d 1206, 1215 (2d Cir. 1992).

        Plaintiff also argues that Ms. Martin should be precluded under Rule 403. But this
argument has nothing to do with the Court’s January 9, 2024 Order and should therefore be
disregarded as untimely. Nonetheless, Plaintiff’s position should be rejected since it is based on
the false assumption that Ms. Martin would necessarily be required to testify about her role as an
“outcry” witness. The fact that Plaintiff purportedly spoke to Ms. Martin in the 1990s about the
alleged incident has no bearing as to whether Ms. Martin believes that Plaintiff enjoyed the
attention she was receiving in June 2019 and later when her accusation became public. Recounting
the specific interactions between Ms. Martin and Plaintiff in the 1990s is not necessary to establish
the closeness of their relationship, particularly since Ms. Martin testified in Carroll II that she and
Plaintiff had a “close friendship” in the 1990s and that they have “kept growing closer” since then.
Exhibit A at tr. 1026:8-12. Therefore, Plaintiff’s Rule 403 argument is unpersuasive.

         Based on the foregoing, there is no question that Ms. Martin will offer relevant testimony
on the issues of damages. Therefore, Plaintiff’s last-ditch attempt to preclude her from testifying
at trial must be denied. 3




2
  Plaintiff argues that this text message is inadmissible hearsay as an “out-of-court statement of a non-
party.” Letter at 2, n. 1. But Plaintiff misses the point. President Trump is entitled to question Ms. Martin
as to whether she believes Plaintiff enjoyed the attention she was receiving and, in this respect, the text
message could be offered as impeachment evidence to the extent necessary.
3
  President Trump objects to Plaintiff’s request to call Ms. Martin as a part of her case-in-chief. See Letter
at 3, n. 2. This request is made well past the applicable deadline, as Martin was not identified as one of
Plaintiff’s witnesses in the Pre-Trial Order, see ECF 227. To permit Plaintiff to add a witness mere days
before the commencement of trial would severely prejudice President Trump.


                                                      2
          Case 1:20-cv-07311-LAK Document 261 Filed 01/13/24 Page 3 of 4




II.     Exhibits DX-15, DX-18, DX-20 and DX-21

        Plaintiff argues that certain of Defendant’s exhibits—DX-15, DX-18, DX-20, and DX-
21—are “clearly inadmissible” in light of the Court’s January 9, 2024 Order. 4 This position is
plainly without merit.

         DX-15 and DX-18 are communications between Plaintiff and others wherein she makes
clear that her intention is to garner maximum publicity and attention for her accusation against
President Trump. See Exhibit D, DX-15 (July 18, 2019 e-mail to her publicist in which Plaintiff
states that the company is “not living up to its phenomenal reputation and getting [her] more radio,
digital, podcasts, and blogs.”); Exhibit E, DX-18 (September 30, 2019 text message to Lisa
Birnbach in which Plaintiff states that, at upcoming media appearance, “the main thing is to SELL
BOOKS.”). Contrary to Plaintiff’s contention, these exhibits will not be offered to show that
“Plaintiff fabricated her account [in pursuit of] financial interests.” Letter at 4 (citing ECF 252 at
17. They have nothing to do with the underlying incident or any plot by Plaintiff to “fabricate” her
claims at all. Rather, they are relevant to the issue of emotional harm since they tend to show that
Plaintiff wanted (and expected) to receive a significant amount of attention in connection with her
accusation, thereby reducing the likelihood that she suffered mental distress due to the amount of
attention she ultimately did receive. In other words, this evidence is offered for the permissible
purpose of demonstrating that Plaintiff “contributed to the reputational and emotional harm that
she claims.” ECF 252 at 14, n. 41. Therefore, it is admissible in accordance with the Court’s
January 24, 2024 Order.

        Plaintiff also argues that DX-20 and DX-21 should be precluded. These exhibits both relate
to Plaintiff’s June 24, 2019 appearance on Anderson Cooper 360. See Exhibit F, DX-20 (transcript
of broadcast); DX-21 (video of broadcast). The portion of this broadcast which President Trump
seeks to introduce (DX-21 at 8:15-8:38) is relevant to the issue of damages for several reasons.

       First, it is relevant to show that Plaintiff “contributed to the reputational and emotional
harm that she claims.” 5 ECF 252 at 14, n. 41. In her June 24, 2019 interview on Anderson Cooper
360, Plaintiff made several controversial comments, including that “most people think of rape as
sexy.” Exhibit F at 8. These comments garnered widespread attention and caused a significant
negative backlash against Plaintiff. Indeed, in the years since the Anderson Cooper 360
appearance, Plaintiff has frequently defended her comments on social media in the face of attacks
from other users 6. Therefore, there is certainly an argument to be made that Plaintiff’s appearance
on Anderson Cooper 360 tarnished her reputation, and that her decision to appear on the show
contributed to the reputational harm she suffered.

4
 Plaintiff absurdly claims that President Trump’s counsel “asserted that any public statement Plaintiff has
made since [President Trump] defamed her is admissible, no matter its context or content.” Letter 3. No
such representation was ever made in the meet-and-confer call. To the contrary, defense counsel continually
made clear that the limitations contained in the Court’s January 9, 2024 Order will be adhered to at trial.
5
 It must be noted that the undersign expressed this position to Plaintiff’s counsel in an e-mail dated January
11, 2024, but Plaintiff wholly fails to acknowledge it in her Letter. Exhibit G.
6
 See, e.g., https://twitter.com/ejeancarroll/status/1272609902415011843;
https://twitter.com/ejeancarroll/status/1302773720633815046;
https://twitter.com/ejeancarroll/status/1392262154754183169.


                                                      3
         Case 1:20-cv-07311-LAK Document 261 Filed 01/13/24 Page 4 of 4




        Second, the Anderson Cooper 360 video is also relevant for another reason – it is included
in Dr. Humphrey’s damages model. Plaintiff disputes that the broadcast is contained in Dr.
Humphrey’s report, see Letter at 4, n. 6, but she is wrong. The Anderson Cooper 360 broadcast
which has been identified as DX-20 is Plaintiff’s appearance on the show on June 24, 2019. See
generally DX-20, DX-21. This broadcast was contained in Dr. Humphrey’s initial report as T-35.
See Exhibit H at 110. 7 In Dr. Humphrey’s Supplemental Report, T-35 is not marked as “removed”
and the number of “reception impressions” attributed to T-35 is included in the total count. See
Exhibit I at 30. Thus, it is inarguable that the June 24, 2019 Anderson Cooper 360 broadcast is
contained in Dr. Humprey’s revised damages model, and Plaintiff’s insistence to the contrary is
either a mistake or an intentional effort to mislead the Court.

        Further, the harm which Dr. Humphreys attributes to Plaintiff’s June 24, 2019 appearance
on Anderson Cooper 360 is not insignificant. She claims that the appearance is responsible for
garnering 1,033,782 “receptive impressions.” Exhibit I at 30. Given that the total number of
“receptive impressions” in her damages model (low estimate) is 21,262,348, id. at 31, the Anderson
Cooper 360 appearance accounts for nearly 5% of Dr. Humphreys’ total damages estimate. Since
that appearance was controversial for the reasons stated above, it is crucial that the jury be able to
view the appearance to understand its full context and appreciate why President Trump should not
be held liable for any harm emanating from that broadcast, which Plaintiff voluntarily chose to
appear on.

       For the foregoing reasons, Plaintiff’s application should be denied in its entirety.


                                                               Respectfully submitted,


                                                               Michael T. Madaio, Esq.




7
 Dr. Humphreys provides a link to T-35, further evidencing that it is the June 24, 2019 broadcast, which
can be viewed at https://archive.org/details/CNNW_20190625_040000_Anderson_Cooper_360. See
Exhibit H at 110.


                                                   4
